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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                  Chapter 13
         Roy Albers,
                                                                  Case No. 15-22732-rdd
                           Debtor.
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                         STIPULATION AND ORDER RESOLVING
                  SECOND MORTGAGE LIEN OF BANK OF AMERICA, N.A.
                   AND TERMINATING LOSS MITIGATION PROCEEDING

         Upon the order, dated July 15, 2015 (the “Loss Mitigation Order”) commencing a loss

mitigation proceeding (the “Loss Mitigation Proceeding”) at the request of the debtor herein,

Roy Albers (the “Debtor”) regarding the second mortgage lien (the “Lien”) with a loan number

ending in 4399 (the “Loan”) by Bank of America, N.A. (with any subsequent successor or

assign, the “Creditor” and with the Debtor, the “Parties”) on the Debtor’s real property located at

11 Flanders Lane, Cortlandt Manor, NY 10567 (the “Property”); and upon the Parties’ agreement

that the Lien shall be considered void under the conditions defined herein, and that the secured

claim of the Creditor based on the Lien to be reclassified as an unsecured claim under the

conditions defined herein; and good and sufficient cause appearing, it is hereby ORDERED that:

         1.       Creditor’s Proof of Claim No. 3 based on the Creditor’s second mortgage on the

Property in the amount of $323,084.05 is allowed as a wholly unsecured claim and shall be paid

in accordance with the Debtor’s chapter 13 plan.

         2.       The Lien is declared void, subject to the Creditor’s rights under 11 U.S.C. §

363(k), its right to the Lien’s reinstatement upon any dismissal or conversion of the

Debtor’s chapter 13 case prior to the performance of the Debtor’s chapter 13 plan voiding such

mortgage under 11 U.S.C. § 1322(b)(2), and its rights as a loss payee to any insurance proceeds.

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          3.   The Clerk of Westchester County, New York shall mark on its records that the

Creditor’s junior mortgage on the Property, recorded/filed on January 3, 2008, is void pursuant to

Bankruptcy Court Order, subject to the lien’s reinstatement upon any dismissal or conversion of

the Debtor’s chapter 13 case prior to the performance of the Debtor’s chapter 13 plan voiding

such mortgage under 11 U.S.C. § 1322(b)(2); provided, that the Debtor may in the alternative

record a copy of this Order with the Clerk of Westchester County, New York to provide such

notice.

          4.   The Loss Mitigation Proceeding is terminated with respect to the Loan.

Dated: White Plains, New York
       August 25, 2016

s/H. Bruce Bonson, Jr., Esq.                         s/Mark E. Cohen, Esq.
H. Bruce Bronson, Jr., Esq.                          Mark E. Cohen, Esq.
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Counsel for Debtor                                   Counsel for Bank of America, N.A.


SO ORDERED.

/s/Robert D. Drain            ______
HON. ROBERT D. DRAIN
UNITED STATES BANKRUPTCY JUDGE

Dated: White Plains, New York
       August 30, 2016




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